Case 8:19-mc-00005-AG-DFM Document 5 Filed 09/12/18 Page 1 of 2 Page ID #:45



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

IN RE BANC OF CALIFORNIA
SECURITIES LITIGATION                         Case No. _____________


                                              CASE NO. SACV 17-00118 AG (DFMx)
                                              consolidated with
                                              SACV 17-00138 AG (DFMx)
                                              Pending in the Central District of California


              CERTIFICATE OF SERVICE FOR SERVICE BY MAIL

       I hereby certify that on September 12, 2018, I caused the following documents:

       1.     Motion to Compel Compliance with Subpoenas;
       2.     Civil Cover Sheet, with Attachment;
       3.     Notice of Hearing on Motion to Compel Compliance with Subpoenas;
       4.     Declaration of Andrew Gray, with Exhibits A and B; and
       5.     Meet and Confer Statement

to be filed electronically with the Clerk of Court through ECF and that I caused a copy of

the foregoing documents and the notice of electronic filing to be sent by electronic mail

and by first class mail, postage paid, to the following non-ECF participants:

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Case 8:19-mc-00005-AG-DFM Document 5 Filed 09/12/18 Page 2 of 2 Page ID #:46



Dated: September 12, 2018           FOX ROTHSCHILD


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